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                            IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

IP INNOVATION L.L.C. and
TECHNOLOGY LICENSING CORP.,

                          Plaintiffs,

         v.                                                Civil Action No. 2:07-cv-447 (RRR)
                                                           Jury Trial Demanded
RED HAT, INC. and
NOVELL, INC.

                          Defendants.


 DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE
   CERTAIN EQUITABLE ISSUES FROM BEING ARGUED BEFORE THE JURY

         Plaintiffs’ Motion in Limine to exclude Defendants from presenting testimony and

evidence to the jury regarding claims of inequitable conduct and laches is moot with respect to

Defendants’ defense of inequitable conduct. Although both Defendants Red Hat and Novell

asserted the defense of inequitable conduct in their Amended Answers filed on March 6, 2009,1

both Defendants have withdrawn this defense. As indicated in the parties’ Joint Pretrial Order

filed on January 21, 2010, inequitable conduct is no longer one of Defendants’ contentions in

this matter.2
         With respect to laches, Defendants oppose Plaintiffs’ Motion in Limine. As noted by the

Western District of Texas in Collins (the sole case cited by Plaintiffs on this issue), Federal Rule

of Civil Procedure 39(c) “permits the Court ‘upon motion or its own initiative’ to try [the

equitable defense of laches] ‘with an advisory jury’ . . . .” Collins Licensing L.P. v. AT&T, No.

MO-90-CA-201, 1992 U.S. Dist. LEXIS 4648, at *1 (W.D. Tex. Mar. 23, 1992). In Collins, the

court chose to try the issue of laches with an advisory jury. Id. There was no mention of

 1   Dkt. No. 62, Red Hat’s Amended Answer, at 6-9; Dkt. No. 63, Novell’s Amended Answer, at 6-9.
 2   Dkt. No. 138-1, Corrected Joint Final Pretrial Order, at 4-5.




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bifurcation or shielding of the jury from the facts relevant to the issue of laches. See generally

id.

          Defendants propose that the Court adopt the same procedure in this case, i.e., allow the

jury to hear testimony and evidence relating to laches through the normal course of the trial, and

then have the jury issue an advisory finding of fact regarding laches. Defendants further propose

that the Court use Defendants’ Proposed Final Jury Instructions, which include the Federal

Circuit Bar Association’s model instruction on the issue of laches,3 and Defendants’ Proposed

Final Verdict Form, which includes questions of fact relating to laches for the jury to answer.4

Based on the jury’s factual findings, the Court then can rule on the issue of laches as a matter of

law.

          Bifurcating the trial for the issue of laches would unnecessarily delay the trial and may

confuse the jury, which would be unfairly prejudicial to Defendants. In sum, because the Court

may elect to try the issue of laches with an advisory jury, Defendants respectfully ask the Court

to deny Plaintiffs’ Motion in Limine with respect to laches. As to inequitable conduct, Plaintiffs’

Motion in Limine should be denied as moot.




 3    Dkt. No. 135-3, Defendants’ Proposed Final Jury Instructions, at 25-27 (citing Federal Circuit Bar Association
      Model Patent Jury Instructions, Instruction 5.2 (2009) (adapted); A.C. Aukerman Co. v. R. L. Chaides
      Construction Co., 960 F.2d 1020 (Fed. Cir. 1992) (en banc)).
 4    Dkt. No. 135-4, Defendants’ Proposed Final Verdict Form, at 9.




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DATE: March 12, 2010                      Respectfully submitted,

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                              CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on March 12, 2010, all counsel of record were

served with a copy of the foregoing DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION

IN LIMINE TO EXCLUDE CERTAIN EQUITABLE ISSUES FROM BEING ARGUED

BEFORE THE JURY by the Court’s CM/ECF system per Local Rule CV-5(a)(3).



DATE: March 12, 2010                              /s/ Amy E. LaValle




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